              Case 3:25-cr-00215-RK ORGIT
4/3/25, 12:56 PM                      Document
                                          Mail - Please33-2      Filed
                                                       reserve Time off for04/04/25         Page
                                                                            1/16/25 appointment w/Dr.1Weitz
                                                                                                       of 1atPageID:
                                                                                                             1:30pm  171
    ORGIT Mail                                                                                     Daniel Dadoun <daniel@orgit.ai>

  Please reserve Time off for 1/16/25 appointment w/Dr. Weitz at 1:30pm
  Daniel Dadoun <daniel@orgit.ai>                                                                          Fri, Jan 24, 2025 at 7:11 AM
  To: Joseph Alter <jalter@apopefirm.com>, NYEPTdb_EM UNIT <emunit@nyept.uscourts.gov>

    Please proof that the meeting on the 16 was cancelled and we are trying to reschedule

    ---------- Forwarded message ---------
    From: Dineen SIPI <staff@sipipc.com>
    Date: Thu, Jan 23, 2025 at 5:27 PM
    Subject: Re: Please reserve Time off for 1/16/25 appointment w/Dr. Weitz at 1:30pm
    To: Daniel Dadoun <daniel@orgit.ai>


    Hi Daniel,

    This is Dineen from South Island Periodontics. I am just following up with you. I know we communicated on 1/16/25 and
    we had to cancel the appointment scheduled on 1/16/25 at 1:30. Are you ready to re-schedule?
    [Quoted text hidden]




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